 Case 19-10236         Doc 120    Filed 07/24/19 Entered 07/24/19 23:13:21            Desc Main
                                   Document     Page 1 of 4



                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                            )    Chapter 7
                                                  )    Case No. 19-10236
Johnson Publishing Company, LLC,                  )
                                                  )    Hon. Jack B. Schmetterer
                       Debtor.                    )
                                                  )
                                                  )

                              NOTICE OF AUCTION RESULTS

         Miriam R. Stein, not individually but solely as chapter 7 trustee (the “Trustee”) of the

estate of Johnson Publishing Company, LLC (the “Debtor”), pursuant to the court-approved

Bidding Procedures [Dkt. 77] governing the auction and sale of (i) the Debtor’s iconic archive of

photos and other media items documenting African-American history for over 70 years and (ii)

certain related assets (collectively, the “Archive Assets”), and this Court’s Amended Order

Rescheduling Sale Hearing Date and Related Deadlines Regarding Sale of Debtor’s Archive

Collection and Certain Related Assets Outside Ordinary Course of Business [Dkt. 112], hereby

files the attached Asset Purchase Agreement (with the Purchaser as defined therein; the

“Purchase Agreement”) and proposed Sale Order as the notice of auction results she held for the

sale of the Archive Assets on July 17, July 22 and July 24, 2019. Pursuant to the Purchase

Agreement, the Trustee seeks approval for the sale of the Debtor’s interest in the Archive Assets

to the Purchaser for an aggregate cash consideration of $30,000,000.

Dated: July 24, 2019                            Miriam R. Stein, not individually, but solely in her
                                                capacity as the chapter 7 trustee for the
                                                bankruptcy estate of Johnson Publishing
                                                Company, LLC


                                                By:    /s/ N. Neville Reid
                                                Fox, Swibel, Levin & Carroll, LLP,
                                                General Bankruptcy Counsel to the Trustee
Case 19-10236   Doc 120   Filed 07/24/19 Entered 07/24/19 23:13:21   Desc Main
                           Document     Page 2 of 4



                                      N. Neville Reid (ARDC #6195837)
                                      Ryan T. Schultz (ARDC #6288585)
                                      FOX, SWIBEL, LEVIN & CARROLL, LLP
                                      200 West Madison Street, Suite 3000
                                      Chicago, IL 60606
                                      Ph: 312.224.1200
                                      Fx: 312.224.1201
 Case 19-10236       Doc 120     Filed 07/24/19 Entered 07/24/19 23:13:21            Desc Main
                                  Document     Page 3 of 4



                                CERTIFICATE OF SERVICE

       I, N. Neville Reid, certify that (except as otherwise indicated), on July 24, 2019, I caused
a copy of the foregoing NOTICE OF AUCTION RESULTS, to be filed electronically through
the Court’s CM/ECF filing system and to be served upon the attached Service List by the Court’s
ECF filing system.

                                                     /s/ N. Neville Reid
                                                     N. Neville Reid


                                        SERVICE LIST

Party to receive notice electronically via CM/ECF:

Patrick S Layng, U.S. Trustee
USTPRegion11.ES.ECF@usdoj.gov

Howard L. Adelman, counsel to the Debtor
hla@ag-ltd.com

Steven B Chaiken, counsel to the Debtor
schaiken@ag-ltd.com

Randall Klein and
Eva D. Gadzheva, counsel to creditor Desiree G. Rogers
Randall.Klein@GoldbergKohn.com
Eva.Gadzheva@GoldbergKohn.com

J. Mark Fisher, counsel to Linda Johnson Rice
mfisher@schiffhardin.com

Brian Greer, counsel to Capital Holdings V, LLC
brian.greer@dechert.com

Jeffrey M Schwartz, counsel Capital Holdings V, LLC
jschwartz@muchshelist.com

John M George and
Mason W Kienzle, counsel to World Wide Packaging, LLC
jgeorge@kattentemple.com
mkienzle@kattentemple.com

Elizabeth E Richert, counsel to Branden R Bell, Brian E. Bell, Karen K. Bell, Richard E. Bell
erichert@crottylaw.com

Party to receive notice via Messenger on July 25, 2019:
 Case 19-10236    Doc 120   Filed 07/24/19 Entered 07/24/19 23:13:21   Desc Main
                             Document     Page 4 of 4




Johnson Publishing Company, LLC
200 S. Michigan Ave., Suite 900
Chicago, IL 60604
dba Fashion Fair Cosmetics
